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                      UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


        Chambers of                                             Martin Luther King Jr, Federal Bldg.
STEVEN C. MANNION                                                       & U.S. Courthouse
United States Magistrate Judge                                           50 Walnut Street
                                                                        Newark, NJ 07102
                                                                          (973) 645-3827



                                                  October 21, 2020

                                 LETTER OPINION-ORDER

                Re:     D.E. 19, Motion to Appoint Pro Bono Counsel
                        Sanders v. Hicks, et al.
                        Civil Action 20-cv-342-KM-SCM

Dear Litigants:

        This matter comes before the Court upon review of Plaintiff Jason T. Sanders’ (“Mr.
Sanders”) Motion to Appoint Pro Bono Counsel. The Court has reviewed Mr. Sanders’ Motion
and for the reasons set forth herein it is DENIED.

         This Court denied Mr. Sanders’ previous motion for the appointment of pro bono
counsel. In that denial, the Court discussed the Tabron factors, which are: (1) the plaintiff’s
ability to present his case; (2) the complexity of the legal issues involved; (3) the extent of
factual discovery and the plaintiff’s ability to investigate and to comply with complex discovery
rules; (4) the extent to which the case may turn on credibility determinations; (5) whether expert
testimony will be required; and (6) whether the plaintiff can afford counsel on his or her own
behalf.

        In this second Motion, Mr. Sanders emphasizes factors not briefed in his first application,
including the degree to which this case may turn upon expert testimony and credibility
determinations. But in its first order the Court agreed this case, medical in nature, may depend on
expert testimony, and found that while this single factor may weigh in favor of appointment,
because the majority of remaining factors weighed against, appointment was improper.

       Mr. Sanders’ second application also notes that a “credibility contest between the
defendants and the plaintiff” will result from conflicting testimony that may be given by
defendants in response to Mr. Sanders’ accusations. Because discrepancy and conflict like that
Mr. Sanders describes is part of any lawsuit, Mr. Sanders’ second motion does not alter the
Court’s previous decision that the fourth Tabron factor weighs against appointment.
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       Mr. Sanders clarifies in his second motion that he has now been placed in punitive
segregation, a placement that hinders his ability to investigate this case or meet with witnesses.
Mr. Sanders also notes this placement hinders his ability to access legal research materials
necessary to prosecute his case. But Mr. Sanders does not indicate that this placement is
permanent, and his present Motion is extremely well researched, citing to at least 14 cases in its
accompanying memorandum. Thus, Mr. Sanders’ change in placement does not alter the Court’s
previous decision that the first Tabron factor weighs against appointment.

        The Court is, as always, sympathetic to any disadvantages of the parties that come before
it. Accordingly, the Court will closely monitor the considerations raised by Mr. Sanders’ Motion
for Pro Bono Counsel throughout case management and, as the case moves forward, it may
exercise its discretion to appoint counsel sua sponte should any of the above discussed
considerations change.

       As the Tabron factors continue to weigh against appointment at this time, Mr. Sanders’
motion is DENIED. The Clerk of the Court shall mail a copy of this order to Mr. Sanders by
U.S. mail.

       IT SO ORDERED.




                                              10/21/2020 4:44:43 PM




Original: Clerk of the Court
Hon. Kevin McNulty, U.S.D.J.
cc: All parties
    File

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